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UNITED STATES DISTRICT COURT

DISTRICT OF NORTH DAKOTA

FARGO DIVISION
JOSEPH CLARK, Hon.
General Delivery
117 5th Avenue, S.W.
Minot, North Dakota 58701 Hon.

PLAINTIFF
Case no.

Vv.

HOSPITALITY CONCEPTS, LLC
2021 16th Street, North

Fargo, North Dakota 58102 COMPLAINT FOR
MONETARY, INJUNCTIVE
and AND DECLARATORY
RELIEF

FARGO SUNRISE HOTEL, LLC
1401 35th Street, South
Fargo, North Dakota 58103

and JURY TRIAL DEMANDED

ROCKSTAR LODING #1 AND #2, Inc.,
3280 Veterans Blvd.

Suite 3

Fargo, North Dakota 58101

and

CHRISTIANSON COMPANIES, Inc.,
4609 33rd Avenue, South

Suite 400

Fargo, North Dakota 58104

and
JOHAL HOSPITALITY, LLC,

1651 6th Street, East
West Fargo, North Dakota 58708

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West Fargo, North Dakota 58708
and

ADVANCED HOSPITALITY, Inc.,
4303 17th Avenue, South
Fargo, North Dakota 58103

and

GURUNIVAS, LLC,
1415 35th Avenue, South
Fargo, North Dakota 58103

DEFENDANTS.

|. Jurisdiction

This honorable court retains jurisdiction to adjudicate this case pursuant to 28
U.S.C. 1331 and 1343. Jurisdiction is further conferred pursuant to 42 U.S.C.
12181, the Americans with Disabilities Act.

ll. Venue

Venue is proper in the District of North Dakota, Fargo Division, because the
subject properties are located within this court's territorial jurisdiction.

li. Complaint

4. Each defendant herein owns and operates a place of public accommodation
as defined by the Americans with Disabilities Act and the regulations
implementing the Americans with Disabilities Act. 28 C.F.R. 36.201(a) and
36.104.

2. As the owner of places of public accommodation, each defendant herein is
required to follow and comply with the Americans with Disabilities Act.

3. Section 2, Chapter 242 of the Americans with Disabilities Act mandates that
swimming pools at places of public accommodation have a mandatory one pool
lift, two (2) pool lifts if the pool is 300 linears or more. The section further
requires each hot tub include at least one lift.

4. This plaintiff wanted to go swimming and enjoy a hot tub in Fargo so he
contacted each hotel listed herein only to be told, as described below, that each
hotel was not Americans with Disabilities Act compliant. After each hotel told this
plaintiff each hotel was non compliant, this plaintiff further verified the same on

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google and trip advisor.

5. The defendant, Hospitality Concepts, LLC, owns and operates the
Homewood Suites hotel located at 2021 16th Street, North in Fargo. They do
not have a lift for the hot tub.

6. The defendant, Fargo Sunrise Hotel, LLC, owns and operates the Country
Inn and Suites located at 3316 13th Avenue, South in Fargo. They do not have
a lift for the hot tub or pool.

7. The defendants, Rockstar Lodging #1 and #2, Inc., owns and operates the
Days Inn located at 1507 19th Avenue, North in Fargo. They do not have a lift
for the pool or hot tub. They also own and operate the Rodeway Inn located at
2202 South University Drive in Fargo. They do not have a lift for the pool.

8. The defendant, Christianson Companies, Inc., owns and operates the Main
Stay Suites located at 1901 44th Street, S.W., in Fargo. They do not have a lift
for the hot tub. This defendant also owns and operates the Red Roof Inn
located at 1921 44th Street, S.W. in Fargo. They do not have a lift for the hot
tub.

9. The defendant, Johal Hospitality, LLC, owns operates the Wingate located
at 4429 19th Avenue, S.W. in Fargo. They do not have a lift for the pool or hot
tub.

10. The defendant, Advanced Hospitality, Inc., owns and operates the
Expressway Suites located at 4303 17th Avenue, S.W. in Fargo. They do not
have a lift for the pool or hot tub.

11. The defendant, Gurunivas, LLC, owns and operates the Quality Suites
located at 1415 35th Street, South in Fargo. They do not have a lift for the pool
or hot tub.

12. The defendant, Robust Properties, LLC, owns and operates ithe Laquinta
Inn located at 2355 46th Street, South in Fargo. They do not have a lift for the
pool or hot tub.

IV. Jury Demand

This plaintiff respectfully demands a trial by jury on all issues triable by jury
by the maximum allowable number of jurors.

V. Relief Requested
WHEREUPON, plaintiff respectfully requests the following relief:

DECLARATORY - a declaratory judgment that declares at the
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commencement of this action, each hotel was / is operating in direct violation of
the Americans with Disabilities Act as described herein.

INJUNCTIVE - a permanent injunction pursuant to 42 U.S.C. 12188(a)(2)
and 28 C.F.R. 36.504(a) which orders the subject properties to bring the
properties into compliance with the Americans with Disabilities Act by installing
permanent pool and hot tub lifts as required by sections of 242.2 and 1009.2 of
the 2010 standards which further directs the court shall reatin jurisdiction for a
period to be determined after the defendants certifies the pools and hot tubs are
in full compliance with the Americans with Disabilities Act to ensure the
defendant has adopted and are following an institutional policy that will in fact
cause the defendant to remain in compliance with the Americans with Disabilities
Act.

MONETARY - a reasonable amount of attorney's fees and costs.

FINES - a $75,000.00 fine for each violation of the Americans with Disabilities

Act.
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Jogéph Clark

Plaintiff (Pro-se)

General Delivery

117 5th Avenue, S.W.
Minot, North Dakota 58701

